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                 2:18–cv–07011-JMA-AYS | 2:21-cv-00014-JMA-AYS



     United States District Court
              Eastern District of New York
                    _________________
       JOHN LEPPER and NOELLE LEPPER, individually and as parents
       and natural guardians of their infant children, B.J.L. and B.I.; and

       JOHN LEPPER, individually and, as a resident taxpayer of the
       Incorporated Village of Babylon, on behalf of all those other resident
       taxpayers of the Incorporated Village of Babylon so unfortunate as to be
       similarly afflicted and suffering economic damage as a result of the
       expenditure of Village funds for the inappropriate and improper defense
       of individual village officials engaged in the persecution of John Lepper
       for providing a treehouse in which his infant children might play,
                                                                        Plaintiffs
                                       –against–
       VILLAGE OF BABYLON;
       THE ESTATE OF RALPH SCORDINO, former Mayor, Village of Babylon, by
       its Legal Representative John and/or Jane Doe; MARY ADAMS, former
       Village Trustee and now Mayor; KEVIN MULDOWNEY, Deputy Mayor,
       ROBYN SILVESTRI, Village Trustee, TONY DAVIDA, Village Trustee,
       STEPHEN FELLMAN, Village of Babylon Building Inspector; SUZANNE
       SCHETTINO, Department of Public Works; GERARD GLASS, Esq., Village
       of Babylon Attorney; DEBORAH LONGO, Planning Board, Village of
       Babylon,
                                                                   Defendants


                             NOTICE OF APPEAL


                       LAW OFFICES OF CORY H. MORRIS
                            Attorney for Plaintiffs
                    VICTOR JOHN YANNACONE, JR., of counsel
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 Notice is hereby given that Plaintiffs JOHN LEPPER and
 NOELLE LEPPER, individually and as parents and natural
 guardians of their infant children, B.J.L. and B.I.; and JOHN
 LEPPER appeals to the United States Court of Appeals for the
 Second Circuit from the March 29, 2022 Electronic Case Filing
 Judgment (Docket Entry Document # 131) granting in all respects
 the motion for summary judgment of Defendants and dismissing
 Plaintiffs’ Complaint as to all defendants, from each and every part
 of said Judgment, and all interlocutory and subsidiary Orders, as
 well as from the whole thereof.

DATED AT   Melville, New York
           April 28, 2022


                                                       /S/
                                           CORY H. MORRIS (CM 5225)
                                    THE LAW OFFICES OF CORY H. MORRIS
                                            Attorney for the Plaintiff
                                       135 Pinelawn Road, Suite 250s
                                               Melville NY 11747
                                              Phone: (631) 450–2515
                                               FAX : (631) 223–7377
                                    Email : Cory.H.Morris@protonmail.com

                                  VICTOR JOHN YANNACONE, JR., (VY6405)
                                                                 of counsel
                                         Phone: (631) 475–0231
                                          Email barrister@yannalaw.com




  To:   ERIC TOSCA, Esq.
        KELLY RODE AND KELLY
        Attorneys for the Defendants
        330 Old Country Road
        Mineola, NY 11580


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       GERARD GLASS, Esq.
       Babylon Village Attorney
       153 West Main Street
       Babylon, New York 11702




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